      Case 4:05-cr-00305-SWW   Document 764    Filed 11/21/06   Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                NO.   4:05CR00305-019 SWW

JAMES FREDERIC HOWARD




                                   ORDER

      This matter came on for hearing on the government’s motion for

revocation of the conditions of release for violations of the terms of

his conditions of release. Based upon statements made by defense counsel

that defendant does not contest the revocation issue, the Court found

that defendant’s bond should be revoked.

      IT IS THEREFORE ORDERED that the government’s motion is granted and

defendant’s release hereby is terminated.        Defendant shall remain in

custody of the United States Marshal to be detained pending sentencing

in this matter.

      IT IS SO ORDERED this 21st day of November, 2006.

                                           /s/Susan Webber Wright


                                           UNITED STATES DISTRICT JUDGE
